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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL

 

 

 

 

 

Case No. Misc. 20-76 MWF (MRWx) Date December 2, 2020
Title In re Snyder Application
Present: Hon. Michael R. Wilner, U.S. Magistrate Judge
Veronica Piper n/a
Deputy Clerk Court Reporter / Recorder
Attorneys for Petitioner: Attorneys for Respondent:

n/a n/a

Proceedings: ORDER SETTING HEARING
1. The Court reviewed the parties’ submissions that followed our last video

hearing. (Docket # 32-34.) The matter will be set for a further video hearing on
Wednesday, December 9, at 10:30 a.m PT. To facilitate our discussion, I offer my tentative
thoughts about the status of the action.

a As an initial matter, Petitioner Snyder clearly was entitled to the original
issuance of the Section 1782 orders. The Court declines to reconsider those decisions.

3. The gist of New Content’s argument is that the company “did not reside in
and was not to be ‘found in’ this judicial district at the time of Snyder’s petition” for the
issuance of subpoenas. (Docket # 30 at 4.) That, in turn, was based on the assertion that
New Content filed for and received a “certificate of surrender” from the California
Secretary of State sometime in early or mid-2020. (Docket # 30-1 at 15.)

4. However, Mr. Chowdhary’s supplemental declaration candidly acknowledges
that the company didn’t actually submit the surrender paperwork until October 10, 2020
(with a “filed” date of October 12). (Docket # 32 at 3.) That was well after the initial
Snyder application under § 1782 (August 2020), the second application, and the Court’s
orders granting the applications (September 2020). (Docket # 1, 13, 17, 23.)

B: New Content’s statements that it planned to terminate its California affiliate
—and that it was only “technically” registered to do business in this state — are
unconvincing.! Petitioner Snyder’s initial assertion was correct: New Content was a

 

i Regular litigants in my court will know that I hate the use of the word “technically.”
It’s an empty term that generally conveys a not-too-subtle sense of disparagement, or even the

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registered California corporation with its principal place of business in Los Angeles during
that period. (Docket # 1-6 at 2.) That’s enough to satisfy the statute, even if other factual
assertions (whether or not Mr. Richard was an officer or registered agent, was the L.A.
office / WeWork space really open, etc.) did not pan out. Khrapunov v. Prosyankin, 931
F.3d 922, 925 (9th Cir. 2019).

6. Other aspects of New Content’s opposition submissions also fall a bit flat.
New Content suggests that this Court’s authority under Section 1782 is limited to
ordering the production of evidence “that is located here” in this judicial district. (Docket
# 34 at 3 (emphasis in original).

 

re Ample authority establishes that the scope of a Section 1782 subpoena is
equivalent to that under the Federal Rule of Civil Procedure. More directly, there is
“no per se bar to the extraterritorial application of § 1782.” In re Del Valle Ruiz, 939 F.3d
520, 524 (2d Cir. 2019); Sergeeva v. Tripleton Int Ltd., 834 F.3d 1194 (11th Cir. 2016)
(same); Illumina Cambridge Ltd. v. Complete Genomics, Inc., 2020 WL 820327 (N.D. Cal.
2020) (same); Inre De Leon, 2020 WL 1180729 (N.D. Ohio 2020) (same). Rather, a district
court is obliged to “exercise its discretion” under ordinary discovery principles to
determine whether to order the production of materials that a company possesses or
controls internationally.2 Del Valle Ruiz, 939 F.3d at 533; In re Premises Located at 840
140th Ave, Bellevue, Washington, 634 F.3d 557, 563 (9th Cir. 2011).

 

8. However, the Court’s ability to exercise that discretion here isn’t very clear.
New Content denies that it possesses responsive materials in California or in the United
States. (Docket # 30-1 at 7.) It also denies ownership of computers “anywhere in the
world.” (Docket # 30-2 at 2.) Further, New Content claims that it has no links to the

 

opposite of whatever the speaker is trying to modify. Don’t believe me? Walk up to your spouse /
partner / child / mom and say, “Technically, I love you.” The reaction undoubtedly will be less
cordial than a sincere “I love you.” It may also be followed by a chair thrown at your head.

Put another way, saying that New Content was only “technically” registered in
California doesn’t really enlighten me about the company’s status one way or the other — not the
result that the well-spoken Mr. Meckes intended.

2 I particularly note Magistrate Judge Hixson’s cogent comment that concerns about
producing documents outside the United States are “largely anachronistic” in an era of “electronic
storage, which can be accessed with equal effort from any location.” lumina Cambridge, 2020 WL
820327 at *10. The same could likely be said of a Zoom / Teams / FaceTime deposition of a
corporate representative under Rule 30(b)(6) during coronavirus times.

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MEAWW website, which is central to the current dispute and the Indian action. (Id. at 3.)
Snyder might be entitled to conduct some limited discovery to test those assertions.

a But New Content also acknowledges that other materials it possesses
(including, perhaps, items responsive to the Snyder requests) “are in India.” (Id.) That
brings us back to the Intel factors discussed in my earlier order. One component of Intel is
whether the request for discovery assistance in a U.S. court “conceals an attempt to
circumvent foreign proof-gathering restrictions or other policies of a foreign country.”

Intel Corp. v. AMD, Inc., 542 U.S. 241, 265 (2004). This Court may well be hesitant to
exercise its discretion to assist a litigant in an Indian action to obtain Indian-based
materials from an Indian party outside the confines of the Indian court case.

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10. With these thoughts in hand, the parties’ talented attorneys should be

prepared to discuss — with real specificity, and an eye on the calendar — whether and what
discovery this Court should permit in its discretion as we move forward. Either side may

(but is not required to) file a short proposal with the Court in advance of our hearing.

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